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                              CHAPTER CLXXXVI.
             AN ACT to amend the Criminal Laws of this State upon the sub-
               ject of carrying concealed weapons, and amend Section 4759 of
               the Code.
                SECTION 1. Be it enacted by the General Assembly of
             the State of Tennessee, That the Act of 1871, Chapter          ence and
             SO, be and is hereby amended, that hereafter it shall not penaty.
             be lawful for any person to carry, gublicly or privately,
             any dirk, razor concealed about his person, sword cane,
             spanish stilletto, belt or pocket pistol, revolver, or any
             kind of pistol, except the army or navy pistol, usually
             used in warfare, which shall be carried openly in the
             hand, or loaded cane, slung-shot, brass knucks; and any
             person guilty of a violation of this Act shall be subject
             to presentment or indictment, and on conviction shall be
             fined fifty dollars, and imprisoned in the County jail of
             the County where the offense was committed, the impris- Provo.
             onment only in the discretion of the Court; Provided, the
             defendant shall give good and sufficient security for all
             the costs, fine, and any jail fees that may accrue by virtue
             of the imprisonment of the defendant.
                SEC. 2. Be it further enacted, That nothing in this
             Act be so construed as to operate as a pardon for any of-
             fense heretofore committed, but persons indicted or pre-
             sented for carrying dangerous weapons under the law now
             in force, shall be tried under said laws, and punished as
             therein required.
                SEC. 3. Be it further enacted, That the provisions of
             this Act shall not apply to any person employed in the
             army, navy, or marine service ol the United States, or to Soldiers and
             any officer or policeman while bona fide engaged in his Police excepted.
             official duties in the execution of process, or while search-
             ing for or engaged in arresting criminals, nor to persons
             who may have been summoned by such officers or police-
             man in the discharge of their s id duties, and in arrest-
             ing criminals and transporting and turning them over to
             the proper authorities; and, Provided,further, that said
             persons who may be employed in the army, navy or
             marine service, as aforesaid, shall only carry such pistols
             as are prescribed by the army and navy regulations.
                SEC. 4. Be it further enacted, That all laws and parts
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                  of laws that come in conflict with the provisions of this
                  Act be and the same are hereby repealed; Provided, that
                  any person convicted of an offense under this Act shall,
                  not be deprived of the right of voting or holding of-
                  fice.
                     Passed March 26, 1879.
                                                  H. P. FOWLKES,
                                Speaker of the House of Representatives.
                                                        J. R. NEAL,
                                                    Speaker of the Senate.
                     Approved, March 27, 1879.
                                              ALBERT S. MARKS,
                                                                Governor.




                                   CHAPTER CLXXXVII.

                  AN ACT to amend an Act approved March 6th, 1873, entitled, "An
                   Act to establish and maintain a uniform system of Public Schools."

                     SECTION 1. Be it enacted by -the GeneralAssembly of the
     Study of Agr State of Tennessee, That Section 31 of the Act approved
   cu1lureenjoiei March 6th, 1873, entitled "An Act to establish and main-
                  tain a unifbrm system of Public Schools," be so amended
                  as to add to the curriculum of studies prescribed therein.,
                  the study of the elementary principles of Agriculture.
                     SEC. 2. Be it further enacted, That the Superintendent
   Superintendent of Public Instruction of this State, and Commissioner of
   Public ,-true- Agriculture shall be constituted a Commission to procure
   tion and Corn-
   missioner   Agri- the preparation of, or the designature of, a work on the
   cuir o       d1" Elementary Principles of Agriculture," which shall be
                   taught in the Public Schools of the State, as are the other
                   studies prescribed in the 21st Section of the Public School
                   Law; Provided, no monies are to be paid by the State
                   or out of the school fund for the preparation of the nec-
                   essary book.
                      Passed March 26, 1879.
                                                     H. P. FOWLKES,
                                   Speaker of the House of Representatives.
                                                            J. R. NEAL,
                                                      Speaker of the Senate.
                      Approved March 27, 1879.
                                                 ALBERT S. MARKS,
                                                                   Governor.
